CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 1 of 8




                   Exhibit A
CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 2 of 8
CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 3 of 8
CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 4 of 8
CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 5 of 8
CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 6 of 8
CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 7 of 8
CASE 0:22-cv-02290-ECT-TNL Doc. 6 Filed 09/21/22 Page 8 of 8
